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                     IN THE UNITED STATED DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

ARTHUR M. LOVE
2064 Lake Grove Lane
Crofton, Maryland 21114

              Plaintiff,

v.                                         Case No.

LARRY HOGAN
100 State Circle                           COMPLAINT
Annapolis, MD 21401
                                           JURY TRIAL DEMANDED
BOYD RUTHERFORD
100 State Circle
Annapolis, MD 21401

STEVEN MCADAMS
100 State Circle
Annapolis, MD 21401

ALLISON MAYER
100 State Circle
Annapolis, MD 21401

MONA VAIDYA
100 State Circle
Annapolis, MD 21401

SHAREESE CHURCHILL
100 State Circle
Annapolis, MD 21401

MATHEW A. CLARK
100 State Circle
Annapolis, MD 21401

THE STATE OF MARYLAND
Serve: Brian Frosh, Attorney General
200 St. Paul Place, 20th Floor
Baltimore, MD 21202

              Defendants.




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                                           COMPLAINT

        COMES NOW Plaintiff Arthur M. Love IV, by and through his attorneys, does hereby

sue Defendants Steven McAdams, Allison Mayer, Larry Hogan, Mana Vaidya, and the State of

Maryland (collectively, Defendants) pursuant to 42 U.S.C. §§ 1983, 1985, 1986, 1988, and

Article 40 of the Maryland Declaration of Rights, for violations of his rights guaranteed by the

First and Fourteenth Amendments to the United States Constitution and by Article 40 of the

Maryland Declaration of Rights. In support of his causes of action, Plaintiff alleges as follows:

                                             PARTIES

1.      Plaintiff Arthur M. Love IV is a citizen of the United States residing in Anne Arundel

County, Maryland.

2.      Defendant Larry Hogan was at all times relevant the Governor of the State of Maryland.

Hogan’s public office is maintained at 100 State Circle, Annapolis, Maryland. Regarding Mr.

Love’s federal constitutional claims alleged herein, Hogan is sued in both his individual and

official capacities.

3.      Defendant Boyd Rutherford was at all times relevant the elected lieutenant governor for

the State of Maryland. Rutherford’s public office is maintained at 100 State Circle, Annapolis,

Maryland. Regarding Mr. Love’s federal constitutional claims alleged herein, Rutherford is sued

in both his individual and official capacities.

4.      Defendant Steven McAdams was at all times relevant the Executive Director of the

Governor’s Office of the State of Maryland. McAdams’ public office is maintained at 100 State

Circle, Annapolis, Maryland. Regarding Mr. Love’s federal constitutional claims alleged herein,

McAdams is sued in both his individual and official capacities.



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5.     Defendant Allison Mayer was at all times relevant the Deputy Chief of Staff for the

Governor’s Office of the State of Maryland. Mayer’s public office is maintained at 100 State

Circle, Annapolis, Maryland. Regarding Mr. Love’s federal constitutional claims alleged herein,

Mayer is sued in both her individual and official capacities.

6.     Defendant Mona Vaidya was at all times relevant the Director of Financial

Administration for the Governor’s Office of the State of Maryland. Vaidya’s public office is

maintained at 100 State Circle, Annapolis, Maryland. Regarding Mr. Love’s federal

constitutional claims alleged herein, Vaidya is sued in both her individual and official capacities.

7.     Defendant Shareese Churchill was at all times relevant the Press Secretary for the

Governor’s Office of the State of Maryland. Churchill’s public office is maintained at 100 State

Circle, Annapolis, Maryland. Regarding Mr. Love’s federal constitutional claims alleged herein,

Churchill is sued in both her individual and official capacities.

8.     Defendant Mathew A. Clark was at all times relevant the Chief Staff for the Governor’s

Office of the State of Maryland. Clark’s public office is maintained at 100 State Circle,

Annapolis, Maryland. Regarding Mr. Love’s federal constitutional claims alleged herein, Clark

is sued in both his individual and official capacities.

9.     Defendant State of Maryland is a body corporate and politic, having all the rights and

powers of government under the Maryland Constitution and laws of the state of Maryland.

                                 JURISDICTION AND VENUE

10.    This Court has subject matter jurisdiction over Plaintiff’s federal constitutional claims

pursuant to 28 U.S.C. § 1331 and 42 U.S.C. §§ 1983, 1985, and 1986.

11.    This Court has supplemental jurisdiction over Plaintiff’s state constitutional claims

pursuant to 28 U.S.C. § 1367(a).




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12.      This Court has supplemental jurisdiction over Plaintiff’s claims for wrongful termination

pursuant to 28 U.S.C § 1367(a).

13.      Venue is proper in the District of Maryland pursuant to 28 U.S.C. § 1391(b) because

multiple Defendants reside in this district and a substantial part of the events or omissions giving

rise to the claims occurred in this district.

                                     STATEMENT OF FACTS

14.      Arthur M. Love IV has been a faithful public servant to the State of Maryland for many

years.

15.      Mr. Love led Governor Hogan’s statewide field operations during Hogan’s first

gubernatorial campaign.

16.      On January 21, 2015, Governor Hogan appointed Mr. Love Deputy Director of

Community Initiatives.

17.      In his role as Deputy Director of Community Initiatives, Mr. Love has organized

numerous charitable events for the citizens of Maryland and earned a reputation as an exemplary

and dedicated public servant.

18.      Mr. Love was unlawfully terminated from his Deputy Directorship on or about August

30, 2020.

19.      The State and its agents asserted that Mr. Love’s termination was based upon off-duty

social media posts made in a private online chat room.

20.      The social media posts in question were in a private Facebook group called “Inside

Maryland Politics” and commented on the civil unrest occurring in Kenosha following the police

shooting of Jacob Blake on August 23, 2020, which was a matter of great public concern and the

subject of a national debate.


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21.      When protests in Kenosha turned violent the eyes of the nation fixed upon the city, as the

country once again found itself immersed in a difficult political conversation about race,

policing, protests, and the rights of all Americans.

22.      Kyle Rittenhouse then became involved in this national narrative of public concern when

he was involved in a controversial shooting during one of the Kenosha protests.

23.      This event sparked further national dialogue on a range of issues of public concern such

as race, policing, protests, the use of self-defense, Second Amendment Rights, and American

culture.

24.      Mr. Love participated in this national dialogue on these matters of public concern in his

capacity as a private citizen, while acting far outside the scope of—and off duty from—his

government position, using his private social media account and his personal electronic device.

25.      Specifically, on August 28, 2020, Mr. Love used his private Facebook account to discuss

Mr. Rittenhouse’s case and support Mr. Rittenhouse’s self-defense right, communicating his

personal belief that Mr. Rittenhouse’s actions may have been justified under the doctrine of self-

defense. Mr. Love did so in his personal time, while lying on his bed in his home, using his

private personal Facebook account. Mr. Love neither expressly nor implicitly purported to make

such statements in an official capacity as a Maryland government employee.

26.      Other members of the private group hosting this social media discussion became

aggrieved with Mr. Love’s position, prompting Mr. Love to exit the conversation.

27.      The next morning (August 29), Mr. Love awoke to the press at his home. He proceeded

to call Defendant McAdams.

28.      McAdams informed Mr. Love that he need not worry and that they would “get through

this.”




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29.    Instead, upon information and belief, on either August 28 or 29, one or more of the

Defendants decided to, and did, terminate Mr. Love’s employment because of his comments

about Rittenhouse’s right to self-defense.

30.    Mr. Love first learned he had been terminated from a television news report aired on

August 29.

31.    On August 30 at or about 8:38 am, Mr. Love received a phone call from McAdams

informing Mr. Love that he had been terminated due to his Facebook posts on Mr. Rittenhouse’s

potential justification under the doctrine of self-defense.

32.    On August 31, Mr. Love received his official termination letter via email from

McAdams.

33.    McAdams or his representatives publicly stated that Mr. Love’s termination was due to

his private social media posts. Specifically, McAdams stated: “These divisive images and

statements are inconsistent with the mission and core values of the Office of Community

Initiatives. Earlier today, I relieved this employee of his duties.”

34.    The termination predicated on these posts was content-based or viewpoint-based

discrimination against the political viewpoints Mr. Love expressed as a private citizen on a

matter of public concern, on his private social media account, using his private device, in his

personal time, without purporting to speak in an official capacity as a Maryland government

employee.

35.    Defendants collectively conspired to—and succeeded in—unlawfully terminating Mr.

Love’s public employment in violation of his civil rights.




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                                    LEGAL FRAMEWORK

       A. Federal Claims

36.    The First Amendment to the United States Constitution guarantees Mr. Love’s

fundamental right to free speech. USCS Const. Amend. I.

37.    At the heart of the First Amendment is the recognition of the fundamental importance of

the free flow of ideas and opinions on matters of public interest and concern. Time and again, the

United States Supreme Court has emphasized that “[t]he freedom to speak one's mind is not only

an aspect of individual liberty—and thus a good unto itself—but also is essential to the common

quest for truth and the vitality of society as a whole.” Hustler Magazine, Inc. v. Falwell, 485 U.S.

46, 50–51 (1988). The freedom to speak one’s mind on matters of public concern—as Mr. Love

did here—“has always rested on the highest rung of the hierarchy of First Amendment values.”

Carey v. Brown, 447 U.S. 455, 466–67 (1980).

38.    The Court has been clear as to the internet’s central role in modern public debates:

“While in the past there may have been difficulty in identifying the most important places (in a

spatial sense) for the exchange of views, today the answer is clear. It is cyberspace—the ‘vast

democratic forums of the Internet’ in general, [citation], and social media in particular.”

Packingham v. North Carolina, 137 S. Ct. 1730, 1735 (2017).

39.    Social media platforms that facilitate the free exchange of ideas, such as Facebook, are

modern-day equivalents to streets or a park, and are subject to traditional public forum analysis

for First Amendment purposes. Davison v. Randall, 912 F.3d 666, 682 (4th Cir. 2019).

40.    Official censorship based on a government actor’s subjective judgment that the content of

protected speech is offensive or inappropriate is unconstitutional “viewpoint discrimination.”

Matal v. Tam, 137 S. Ct. 1744, 1763 (2017). Viewpoint discrimination is an egregious form of



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content discrimination. The government must abstain from regulating speech when the specific

motivating ideology or the opinion or perspective of the speaker is the rationale for the

restriction. Rosenberger v. Rector & Visitors of the Univ. of Va., 515 U.S. 819, 828 (1995); Perry

Ed. Assn. v. Perry Local Educators' Assn., 460 U.S. 37, 46 (1983). In other words,

discrimination against speech because of its message is presumed to be unconstitutional.

41.    Viewpoint discrimination is prohibited in all forums and “is apparent, for example, where

a government official’s decision to take a challenged action was ‘impermissibly motivated by a

desire to suppress a particular point of view.’” Davison v. Randall, 912 F.3d 666, 687 (4th Cir.

2019) (citing Cornelius v. NAACP Legal Defense & Educ. Fund, Inc., 473 U.S. 788, 802 (1985)).

42.    The Equal Protection Clause of the Fourteenth Amendment of the United States

Constitution commands that similarly situated persons be treated alike. City of Cleburne v.

Cleburne Living Ctr., 473 U.S. 432, 439 (1985). When, as in this case, an equal protection

violation arises from a First Amendment violation, the two claims are “fused” together.

Hardwick v. Heyward, 711 F.3d 426, 442 (4th Cir. 2013) (citing R.A.V. v. City of St. Paul, Minn.,

505 U.S. 377, 384–85 n.4 (1992)).

43.    Federal statutory law permits Mr. Love to bring a private cause of action to redress

violations of his rights guaranteed by the Bill of Rights in the United States Constitution.

Specifically, 42 U.S.C. § 1983 provides: “Every person who, under color of any statute,

ordinance, regulation, custom, or usage, of any State . . . subjects, or causes to be subjected, any

citizen of the United States or other person within the jurisdiction thereof to the deprivation of

any rights, privileges, or immunities secured by the Constitution and laws, shall be liable to the

party injured in an action at law, suit in equity, or other proper proceeding for redress.”




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44.    Federal law also extends civil liability to those who conspire to violate constitutionally

protected rights, id. § 1985, and to those with knowledge of such a conspiracy and the power to

prevent or aid in preventing the wrongs conspired to be done, yet fail to do so, id. § 1986.

45.    Congress has also provided that in an action such as this one, the court may allow the

plaintiff to recover attorney fees. Id. § 1988(b). The Court may also include expert witness fees

when awarding attorney’s fees. Id. § 1988(c).

46.    As used in sections 1983, 1985, and 1986, the term “person” includes all individual

Defendants in this action. Defendant State of Maryland is also a “person” within the meaning of

these statutes. See Monell v. Dept. of Soc. Servs., 436 U.S. 658 (1977).

       B. State Claims

47.    In addition to the federal legal framework discussed above, Article 40 of the Maryland

Declaration of Rights provides state constitutional protections coextensive with the First

Amendment of the United States Constitution. DiPino v. Davis, 354 Md. 18, 43 (1999) (citing

Jakanna v. Montgomery Cty., 344 Md. 584 (1997)).

48.    Although the rights protected by Article 40 of the Maryland Declaration of Rights are

coextensive with the rights protected under the First Amendment of the United States

Constitution, the legal analysis of State Constitutional torts differs substantially from the legal

analysis applicable to claims asserted under 42 U.S.C. §§ 1983, 1985, and/or 1986.

49.    First, unlike federal claims brought under Title 42, and unlike some common law torts,

“neither the local government official nor a local governmental entity has available any

governmental immunity in an action based on rights protected by the State Constitution.”

DiPino, 354 Md. at 51; Ritchie v. Donnelly, 324 Md. 344, 373–74 (1991).




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50.    Second, the “personal/official capacity distinction applied in § 1983 actions” does not

apply when considering State Constitutional claims. DiPino, 354 Md. at 51. The Maryland Court

of Appeals has explained:

           This Court has consistently held that a public official who violates the plaintiff's
           rights under the Maryland Constitution is personally liable for compensatory
           damages. . . . This liability for damages resulting from unconstitutional acts is in no
           way based upon the ‘official/individual capacity’ body of law which has developed in
           federal § 1983claims. Liability has been imposed upon the government official when
           his unconstitutional actions were in accordance with or dictated by governmental
           policy or custom. Liability has also been imposed when the unconstitutional acts were
           inconsistent with governmental policy or custom. Moreover, contrary to the view of
           the circuit court in the present case, liability has been imposed upon the official when
           he was acting in the scope of his employment.



Ritchie, 324 Md. at 370–71 (internal citations omitted).

51.    Finally, “[a] third difference hinges on the existence of respondeat superior liability on

the part of local governmental entities for State Constitutional violations. There is no such

vicarious liability under § 1983, because of the distinction drawn between personal and official

capacity actions.” DiPino, 354 Md. at 51. The Court of Appeals went on to say: “We shall now

dispel any doubt in the matter and make clear, as a matter of common law, that local

governmental entities do, indeed, have respondeat superior liability for civil damages resulting

from State Constitutional violations committed by their agents and employees within the scope

of the employment.” Id.

52.    The Maryland Tort Claims Act provides: “[T]he immunity of the State and of its units is

waived as to a tort action” rendering the state liable for the actions in this case. MD. CODE ANN.,

STATE GOV’T § 12-104 (2015).




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53.    The State government’s liability is limited under the Maryland Tort Claims Act to a

maximum of $400,000 to a single claimant for injuries arising from the same incident or

occurrence. Id. § 12-104(2) (2015).

54.    A local government entity “shall be liable for any judgment against its employee for

damages resulting from tortious acts or omissions committed by the employee within the scope

of employment with the local government.” MD. CODE ANN., CTS.& JUD. PROC. § 5-303(b).

55.    With respect to Plaintiff’s federal and state claims alleged below, all individual

Defendants are sued in both their personal and official capacities, and the state government

Defendant is not separately named. A claim against a public official in his or her official capacity

is equivalent to a claim against the municipality itself. Davison v. Randall, 912 F.3d 666, 688

(4th Cir. 2019) (additional citations omitted); Hafer v. Melo, 502 U.S. 21, 25 (1991) (official-

capacity suits “generally represent only another way of pleading an action against an entity of

which an officer is an agent.” (quoting Kentucky v. Graham, 473 U.S. 159, 165 (1985))).

       C. Maryland and Federal Public Policy

56.    Maryland law provides a cause of action for wrongful discharge when an at-will

employee's termination “contravenes some clear mandate of public policy.” Szaller v. Am. Nat'l

Red Cross, 293 F.3d 148, 150 (4th Cir. 2002) (quoting Adler v. Am. Standard Corp., 432 A.2d

464, 473 (Md. 1981)).

57.    The Maryland State Constitution provides one of the clearest articulations of public

policy available when it comes to freedom of speech.

58.    As previously discussed, Article 40 of the Maryland Declaration of Rights provides State

Constitutional protections coextensive with the First Amendment of the United States

Constitution. DiPino, 354 Md. 18, 43 (1999) (citing Jakanna, 344 Md. 584 (1997)).




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59.    Viewpoint and political discrimination are prohibited in all forums, creating a public

policy against government action that is ‘impermissibly motivated by a desire to suppress a

particular point of view.’” Davison v. Randall, 912 F.3d 666, 687 (4th Cir. 2019) (citing

Cornelius v. NAACP Legal Defense & Educ. Fund, Inc., 473 U.S. 788, 802 (1985)).

60.    Maryland courts have stressed that in order for a mandate of public policy to be well-

established enough to form the basis of a wrongful discharge action, there "must be a preexisting,

unambiguous, and particularized pronouncement, by constitution, enactment, or prior judicial

decision, directing, prohibiting, or protecting the conduct in question so as to make the public

policy on the relevant topic not a matter of conjecture or interpretation." Szaller, 293 F.3d at 151.

61.    This standard is met by Article 40 of the Maryland Declaration of Rights as well as the

First Amendment of the United States.

62.    The social media posts at issue in this case were not posted on any of the official sources

regulated by the Office of the Governor Social-Media Policy.

                                             COUNT I

                 Retaliation Based on Exercise of the Right to Free Speech in
                                Violation of 42 U.S.C. § 1983
                                      (All Defendants)

63.    Plaintiff incorporates paragraphs 1 to 62 as if fully set forth herein.

64.    Defendants managed, had authority over, and or were materially involved in the decision

to terminate Mr. Love.

65.    On or about August 28, 2020, Mr. Love posted several comments in support of Mr.

Rittenhouse’s right to self-defense in a private Facebook discussion, using his private device, in

his private time, outside the scope of his official duties as a state employee.




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66.     Mr. Love’s Facebook posts at issue constitute constitutionally-protected activity

commenting as a private citizen on matters of public concern, on his personal social media

account.

67.     As a result of Mr. Love’s constitutionally protected activity, Mr. Love was subjected to

adverse action by Defendants that would chill an ordinary person from continuing to engage in

that protected activity.

68.     There was a substantial causal relationship between the constitutionally-protected activity

and the adverse action taken by Defendants against Mr. Love.

69.     As a direct result of Mr. Love exercising his constitutional right to speak publicly, in his

own time, as a private citizen, on a matter of public concern, Defendants retaliated against him,

including taking adverse employment actions by terminating Mr. Love’s employment.

70.     At all times mentioned herein, Mr. Love’s speech was on matters of widely debated

public concern.

71.     By taking employment action against Mr. Love that was substantially motivated by the

content of Mr. Love’s constitutionally protected speech, Defendants violated Mr. Love’s First

Amendment rights.

72.     Defendants, acting under color of state law, terminated Mr. Love’s employment with the

state based on Mr. Love’s Facebook posts in support of Mr. Rittenhouse’s right to self-defense.

73.     Defendants were acting within the scope of their employment or agency with the State of

Maryland when Defendants intentionally terminated Mr. Love in response to his private social

media posts supporting Mr. Rittenhouse’s right to self-defense.




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74.    Defendants, in their act of terminating Mr. Love, engaged in unconstitutional viewpoint

discrimination because their actions were substantially motivated by their disapproval of Mr.

Love’s political viewpoints in support of Mr. Rittenhouse’s right to self-defense.

75.    As a direct, foreseeable, and proximate result of Defendants’ acts and omissions, Mr.

Love suffered—and continues to suffer—significant damages including psychological and

emotional harms, reputational harms, lost promotion opportunities and associated wages and

pension income, and lost future income from post retirement private sector employment

opportunities that will be unavailable to him.

76.    As a direct, foreseeable, and proximate result of Defendants’ acts and omissions, Mr.

Love suffered—and continues to suffer—mental and emotional distress, humiliation, anxiety,

embarrassment, and discomfort.

77.    Defendants acted intentionally and with malice towards Mr. Love to deny his freedoms

protected by the First Amendment when they terminated his employment.

       WHEREFORE Plaintiff requests compensatory and punitive damages against

Defendants, jointly and severally, in an amount to be determined at trial, together with

reasonable attorney’s fees, expert witness fees, and other costs as permitted by 42 U.S.C. § 1988.

                                            COUNT II

                   Retaliation Based on Exercise of Right to Free Speech in
                                Violation of 42 U.S.C. § 1985
                                      (All Defendants)

78.    Plaintiff incorporates paragraphs 1 to 77 as if fully set forth herein.

79.    Defendants managed, had authority over, and or were materially involved in the decision

to terminate Mr. Love.




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80.    On or about August 28, 2020 Mr. Love posted several comments in supports of Mr.

Rittenhouse’s right to self-defense in a private Facebook discussion, using his private device, in

his private time, outside the scope of his official duties as a state employee.

81.    Mr. Love’s Facebook posts at issue constitute constitutionally-protected activity

commenting as a private citizen on matters of public concern on his personal social media

account.

82.    As a result of Mr. Love’s constitutionally protected activity he was subjected to adverse

action by Defendants that would chill an ordinary person from continuing to engage in that

protected activity.

83.    There was a substantial causal relationship between the constitutionally-protected activity

and the adverse action taken by Defendants against Mr. Love.

84.    As a direct result of Mr. Love exercising his constitutional right to speak publicly, in his

own time, as a private citizen, on a matter of public concern, Defendants retaliated against him,

including taking adverse employment actions by terminating Mr. Love’s employment.

85.    At all times mentioned herein, Mr. Love’s speech was on matters of widely debated

public concern.

86.    By taking employment action against Mr. Love that was substantially motivated by the

content of Mr. Love’s constitutionally protected speech, Defendants violated Mr. Love’s First

Amendment rights.

87.    Defendants, acting under color of state law, terminated Mr. Love’s employment with the

state based on Mr. Love’s Facebook posts in support of Mr. Rittenhouse’s right to self-defense.




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88.    Defendants were acting within the scope of their employment or agency with the State of

Maryland when Defendants intentionally terminated Mr. Love in response to his private social

media posts supporting Mr. Rittenhouse’s right to self-defense.

89.    Defendants, in their act of terminating Mr. Love, engaged in unconstitutional viewpoint

discrimination because their actions were substantially motivated by their disapproval of Mr.

Love’s political viewpoints in support of Mr. Rittenhouse’s right to self-defense.

90.    Defendants conspired to deprive Mr. Love of his rights protected by the First and

Fourteenth Amendments to the United States Constitution.

91.    In furtherance of the aforesaid conspiracy, one or more of the Defendants committed an

overt act, to wit, upon information and belief, one or more of the Defendants decided to, and did,

fired Mr. Love because his speech was “inconsistent with the mission and core values of the

Office of Community Initiatives.”

92.    Further, Defendant McAdams’ public statement that Mr. Love was relieved of his duties

because his speech was “inconsistent with the mission and core values of the Office of

Community Initiatives” constitutes an additional overt act of the unlawful conspiracy.

93.    The Defendants, in terminating Mr. Love’s employment, engaged unconstitutional

viewpoint discrimination because their actions were substantially motivated by their dislike of

Mr. Love’s viewpoints in support of Mr. Rittenhouse’s right to self-defense.

94.    Defendants achieved the objective of their conspiracy. By terminating Mr. Love, the

Defendants punished Mr. Love for participating as a private citizen in a public debate of great

public concern. Defendants improperly curtailed Mr. Love’s freedom of expression in violation

of the First Amendment to the United States Constitution.




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95.    As a direct, foreseeable, and proximate result of Defendants’ acts and omissions, Mr.

Love suffered—and continues to suffer—significant damages, including psychological and

emotional harms, reputational harms, lost promotion opportunities and associated wages and

pension income, and lost future income from post-retirement private sector employment

opportunities that will be unavailable to him.

96.    As a direct, foreseeable, and proximate result of Defendants’ acts and omissions, Mr.

Love suffered—and continues to suffer—mental and emotional distress, humiliation, anxiety,

embarrassment, and discomfort.

97.    Defendants acted intentionally and with malice towards Mr. Love to deny his freedoms

protected by the First Amendment when they terminated his employment.

       WHEREFORE Plaintiff requests compensatory and punitive damages against

Defendants, jointly and severally, in an amount to be determined at trial, together with

reasonable attorney’s fees, expert witness fees, and other costs as permitted by 42 U.S.C. § 1988.

                                            COUNT III

                   Retaliation Based on Exercise of Right to Free Speech in
                                Violation of 42 U.S.C. § 1986
                                      (All Defendants)

98.    Plaintiff incorporates paragraphs 1 to 97 as if fully set forth herein.

99.    Defendants managed, had authority over, and or were materially involved in the decision

to terminate Mr. Love.

100.   On or about August 28, 2020, Mr. Love posted several comments in supports of Mr.

Rittenhouse’s right to self-defense in a private Facebook discussion, using his private device, in

his private time, outside the scope of his official duties as a state employee.




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101.   Defendants conspired to deprive Mr. Love of his rights protected by the First and

Fourteenth Amendments to the United States Constitution.

102.   In furtherance of the aforesaid conspiracy, one or more of the Defendants committed an

overt act, to wit, upon information and belief, one or more of the Defendants decided to, and did,

fired Mr. Love because his speech was “inconsistent with the mission and core values of the

Office of Community Initiatives.”

103.   Further, Defendant McAdams’ public statement that Mr. Love was relieved of his duties

because his speech was “inconsistent with the mission and core values of the Office of

Community Initiatives” constitutes an additional overt act of the unlawful conspiracy.

104.   The Defendants, in terminating Mr. Love’s employment, engaged unconstitutional

viewpoint discrimination because their actions were substantially motivated by their disapproval

of Mr. Love’s viewpoints in support of Mr. Rittenhouse’s right to self-defense.

105.   Defendants achieved the objective of their conspiracy. By terminating Mr. Love, the

Defendants effectively punished Mr. Love for participating, in his capacity as a private citizen, in

this public debate of great public concern. Defendants’ actions improperly curtailed Mr. Love’s

freedom of expression in violation of the First Amendment to the United States Constitution.

106.   Defendants had knowledge that the wrongs conspired to be done in violation of Mr.

Love’s First and Fourteenth Amendment rights were about to be committed. Despite having

power to prevent or aid in preventing the commission of the same, Defendants neglected or

refused to do so.

       WHEREFORE Plaintiff requests compensatory and punitive damages against

Defendants, jointly and severally, in an amount to be determined at trial, together with

reasonable attorney’s fees, expert witness fees, and other costs as permitted by 42 U.S.C. § 1988.




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                                           COUNT IV

Retaliation Based on Exercise of Article 40 Right to Freedom of Speech in Violation of the
                               Maryland Tort Claims Act
                                    (All Defendants)

107.   Plaintiff incorporates paragraphs 1 to 106 as if fully set forth herein.

108.   Mr. Love’s Facebook posts in support of Mr. Rittenhouse’s right to self-defense were

made using Mr. Love’s personal device, outside the scope of his employment, on Mr. Love’s

private social media account.

109.   Mr. Love was participating, in his capacity as a private citizen, in a public conversation

on a topic of national concern when he voiced his support of Mr. Rittenhouse’s right to self-

defense.

110.   Defendants, acting within the scope of their employment or agency with the State of

Maryland, intentionally terminated Mr. Love’s employment in response to his private social

media posts supporting Mr. Rittenhouse’s right to self-defense.

111.   Defendants’ actions in terminating Mr. Love were substantially motivated by their

disapproval of Mr. Love’s viewpoints which supported Mr. Rittenhouse’s right to self-defense.

112.   By terminating Mr. Love’s employment, Defendants denied his freedoms protected by

Article 40 of the Maryland Declarations of Rights.

113.   The State of Maryland is liable for the acts of Defendants on the theory of respondent

superior.

       WHEREFORE, Plaintiff demands compensatory and punitive damages against

Defendants, jointly and severally, in an amount to be determined at trial, together with

reasonable attorney’s fees, expert witness fees, and other cost as permitted by law.




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                                            COUNT V

                           Wrongful Discharge Under Federal Law
                                     (All Defendants)

114.   Plaintiff incorporates paragraphs 1 to 113 as if fully set forth herein.

115.   Defendants wrongful discharged Mr. Love because:

                   a. An employment relationship existed between Mr. Love and the Maryland

                   State Government.

                   b. Defendants intentionally, maliciously, or wrongfully terminated Mr. Love

                   because Mr. Love exercised his federal right to freedom of speech enshrined

                   in the First Amendment.

                   c. Defendants’ conduct violated the public policy of the State of Maryland.

       WHEREFORE, Plaintiff demands compensatory and punitive damages against

Defendants, jointly and severally, in an amount to be determined at trial, together with

reasonable attorney’s fees, expert witness fees, and other cost as permitted by law.


                                           COUNT VI

                             Wrongful Discharge Under State Law
                                      (All Defendants)

116.   Plaintiff incorporates paragraphs 1 to 115 as if fully set forth herein.

117.   Defendants wrongful discharged Mr. Love because:

                   a. An employment relationship existed between Mr. Love and the Maryland

                   State Government.

                   b. Defendants intentionally, maliciously, or wrongfully terminated Mr. Love

                   because of Mr. Love’s speech on matters of public concern, in violation of

                   Article 40 of the Maryland Declaration of Rights.


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                    c. Defendants’ conduct violated the public policy of the State of Maryland.

        WHEREFORE, Plaintiff demands compensatory and punitive damages against

Defendants, jointly and severally, in an amount to be determined at trial, together with

reasonable attorney’s fees, expert witness fees, and other cost as permitted by law.


                                      PRAYER FOR RELIEF

        Plaintiff demands judgment against Defendants as follows:

   i.   An award of compensatory, special, and punitive damages in appropriate amounts to be

        established at trial;

  ii.   An award of costs associated with this action; and

 iii.   Any and all other or further relief that this Court deems just and proper.

                                          JURY DEMAND
        Plaintiffs demands a trial by jury on all issues so triable.

 August 11, 2021                                     Respectfully submitted,

                                                     /s/___________________________________
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